                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

 UNITED STATES OF AMERICA                         )
                                                  )   1:11-CR-34
 v.                                               )
                                                  )   Collier/Carter
 JEROME DUKINS and                                )
 RODNEY MERELAN                                   )

                                             ORDER

        Defendants Jerome Dukins and Rodney Merelan are charged with thirty counts of

 counterfeiting in violation of 18 U.S.C. § 472. Defendants moved to suppress all evidence found

 in the vehicle in which they were riding on March 4, 2011 (Court File Nos. 25, 26). These motions

 were referred to United States Magistrate Judge William B. Mitchell Carter, who held a hearing and

 subsequently filed a report & recommendation (“R&R”) recommending Defendants’ motions be

 denied (Court File No. 39). Defendant Merelan (“Defendant”) then filed an objection to the R&R

 (Court File No. 43),1 and the government responded (Court File No. 44). For the reasons discussed

 in the accompanying memorandum, the Court ACCEPTS and ADOPTS the R&R (Court File No.

 39). Accordingly, the Court DENIES Defendants’ motions to suppress (Court File Nos. 25, 26).

        SO ORDERED.

        ENTER.




        1
          Both Defendants filed, on December 29, 2011, motions to extend the time period to object
 to the R&R (Court File Nos. 41, 42). Citing the need to review the transcript and the condensed
 holiday schedule, both Defendants requested an additional fourteen days to object to the R&R. The
 Court GRANTS these motions. Defendant Merelan filed an objection on January 11, 2012 (Court
 File No. 43)–within the additional fourteen-day period. Defendant Dukins, however, failed to file
 an objection during this period, and therefore waives his right to appeal this Court’s order. Thomas
 v. Arn, 474 U.S. 140, 142 (1985).


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                                  /s/
                                  CURTIS L. COLLIER
                                  CHIEF UNITED STATES DISTRICT JUDGE




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